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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


JAMES O’DOAN,
                                                       JUDGMENT IN A CIVIL CASE
                                Plaintiff,
       v.                                              Case Number: 3:17-cv-00293-LRH-CBC
RENO POLICE OFFICER JOSHUA
SANFORD;RENO POLICE OFFICER CADE
LEAVITT; CITY OF RENO,a political
subdivision of the State ofDefendant.
                            Nevada; and JOHN
DOES I through X, inclusive,
                           Defendants.
         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
IT IS ORDERED AND ADJUDGED that defendants' motion for summary judgment (ECF No. 39) is
GRANTED.

IT IS FURTHER ORDERED AND ADJUDGED that judgment is hereby entered and this case is closed.




         March 26, 2019
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ L. Haywood
                                                             Deputy Clerk
